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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA



UNITED STATES OF AMERICA,
                                                   NO. 4:09-cr-00l09-RP-RAW
                 Plaintiff,

     vs.

WILLIAM DOUGLAS PURCELL,

                 Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)

                 The United States of America and the defendant, having

both filed a written consent to conduct of the plea proceedings by

a magistrate judge, appeared before me pursuant to Fed. R. Crim.

P.   11 and LCrR 11.               The defendant entered a plea of guilty to

Count       1    of   an       Indictment   charging      him   with   conspiracy    to

manufacture at least 1,000 marijuana plants,                     in violation of 21

U.S.C.      §§   846 and 841(b) (1) (A).     After advising and questioning the

defendant under oath concerning each of the subjects addressed in

Rule       11 (b) (1),     I   determined   that    the   guilty plea    was   in   its

entirety voluntarily, knowingly and intelligently made and did not

result from force, threats, or promises (other than promises in the

plea agreement).               I   further determined that there is a          factual

basis for the guilty plea on each of the essential elements of the

offense(s)        in question.          A plea agreement was disclosed at the

plea proceeding and defendant stated he understood its terms and
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agreed to be bound by them.        To the extent the plea agreement is of

the type specified in Rule 11(c) (1) (A) or (C) defendant was advised

the district judge to whom the case is assigned may accept the plea

agreement,    reject it,   or defer a decision whether to accept or

reject it until the judge has reviewed the presentence report as

provided by Rule 11(c) (3) (A).       To the extent the plea agreement is

of the type specified in Rule 11(c) (1) (B) defendant was advised by

the Court that defendant has no right to withdraw the plea if the

Court does not follow a recommendation or request in question.

             I recommend that the plea of guilty be accepted and that

the   defendant   be    adjudged     guilty     and     have   sentence    imposed

accordingly.      A    presentence     report     has     been   ordered    and   a

sentencing status conference scheduled.




                                     UNITE·                           JUDGE



                                     DATE



                                    NOTICE

             Failure by a party to file written objections to this
Report and Recommendation within ten (10) days from the date of its
service will result in waiver by that party of the right to make
objections     to   the Report   and Recommendation.      28   U.S.C.
§ 636 (b) (1) (B). The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.



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